       Case 1:03-cr-05453-JLT Document 464 Filed 12/19/14 Page 1 of 2


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     Federal Defender
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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. Cr. F 03-5453 LJO

12                     Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
                                                       DEADLINE FOR FILING RESPONSE;
13          v.                                         ORDER

14   EDISON ODISHO SHINO,

15                     Defendant.                      Judge: Honorable LAWRENCE J. O’NEILL

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s November 13, 2014 order be
18   extended to January 26, 2015. The undersigned is corresponding with Mr. Shino. Counsel for
19   the government, Assistant U.S. Attorney Kathleen A. Servatius, graciously indicated that she has
20   no objection.
21   Dated: December 19, 2014
22                                                       Respectfully submitted,
23                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
24

25                                                       /s/ David M. Porter
                                                         DAVID M. PORTER
26                                                       Assistant Federal Defender
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       Case 1:03-cr-05453-JLT Document 464 Filed 12/19/14 Page 2 of 2


 1
                                                ORDER
 2
            Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of November 13, 2014, may be filed on or before January
 4
     26, 2015.
 5

 6   IT IS SO ORDERED.
 7
        Dated:    December 19, 2014                        /s/ Lawrence J. O’Neill
 8                                                      UNITED STATES DISTRICT JUDGE

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